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                                                                                                    JAN-3 2019
                                             KIRKLAND 8. ELLIS LLP
                                                      AND AFFILIATED PARTNERSHIPS                 SUSAN YSOONG
                                                                                                CLERK. U.S. DISTRICT COURT
                                                                                             NORTHERN DISTRICT OF CALIFORNIA
                                                          300 North LaSalle
                                                          Chicago, IL 60654
              Mark Filip, P.C.                              United States
           To Call Wrtter Directly:                                                                      Facsimile:
              +1 312 862 2192                             ->-1 312 862 2000                           +1 312 862 2200
           mark.filip@kirkland.com
                                                          www.kirkland.com




                                                      December 31, 2018
o          VIA EMAIL


           Honorable William Alsup
           United States District Court
           Northern District of California
           450 Golden Gate Avenue, Courtroom 12
           19th Floor
           San Francisco, CA 94102

                              Re: Federal Monitor Submission Pursuant to November 27, 2018 Notice

          Dear Judge Alsup:

                    Please find below the response of the federal monitor ("Federal Monitor") to the third
          question in the Court's November 27, 2018 Notice re: California Wildfires.

                   3. What specific steps has the monitor herein taken to monitor and improve
                   PG&E safety and reporting with respect to power lines and wildfires?

                  The Federal Monitor position, and associated team of attorneys and outside experts (the
          "Monitorteam"),was createdas a result ofthe guilty verdict in UnitedStates ofAmericav. Pacific
          Gas and Electric Company, Case No. 3:14-cr-00175. The Monitor team began its work in the
          spring of 2017 and has been assessing and evaluating certain aspects of PG&E's operations and
          culture since that time. Overall, the Monitorteam works to identify areas within the scope of the
          monitorship order associated with the guilty verdict ("Monitorship Order") where PG&E has gaps
          in its practices, areas that need improvement, or issues that need to be addressed. In order to
          discharge those responsibilities, the Monitor team has met and interacted with representatives of
         the Justice Department, local law enforcement, the California Public Utilities Commission
         ("CPUC"), and San Bruno city leaders. The Monitor team has also met and interacted with
         employees at all levels of PG&E. Additionally, the Monitor team has access to PG&E's
         documents, procedures, databases, and other requested information. The original scope of the
         Monitorship is set forth in the Monitorship Order and includes fifteen individual requirements,
         primarily focused on assessing PG&E's gas operations and gas transmission system, its corporate
         Compliance and Ethics program, and safety at PG&E. That is where the bulk of the Monitor
         team's work has focused.



    Beijing Boston Dallas Hong Kong Houston London Los Angeles Munich New York PaloAlto San Frandsco Shanghai Washington, D.C.
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